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                     UNITED STATES BANKRUPTCY COURT
                        DISTRICT OF MASSACHUSETTS
                             EASTERN DISTRICT


 ______________________________
 In Re:                          *
                                 *
         Paul M. Jones,          *           Case No. 07-10729-JNF
 ______________________________*             Chapter 13
                                 *
 Bank of New York as Trustee for *
 The Certificate Holders, CWABS, *
 Inc., Asset Backed Certificates *
                                 *
         Movant                  *
 v.                              *
                                 *
 Paul M. Jones,                  *
         Debtor                  *
 ______________________________*



             DEBTOR’S MOTION TO EXTEND TIME TO RESPOND
              TO CREDITOR BANK OF NEW YORK’S (As Trustee)
                    MOTION FOR RELIEF FROM STAY


 TO THE HONORABLE JOAN N. FEENEY, UNITED STATES BANKRUPTCY
 COURT JUDGE:




        NOW COMES, Paul M. Jones (the “Debtor”), by and through counsel, and

 hereby requests pursuant to Fed.R.Bankr.P. 9006(b)(1) that this Honorable Court grant

 the Debtor an additional seven (7) days to respond and oppose to creditor New York

 Bank’s (the “Movant”) Motion for Relief. The Debtor states that an additional seven (7)

 days may render the Movant’s Motion for Relief moot.
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        WHEREFORE, the Debtor respectfully prays that this Honorable Court grant an
 additional seven (7) days to respond and oppose creditor New York Bank’s Motion For
 Relief From Stay, and for such further relief as this Court deems equitable and just.


 Dated: 8/17/2007                      Respectfully submitted,
                                       Paul M. Jones,
                                       By his attorney,

                                       /s/ John F. Cullen___________
                                       John F. Cullen (BBO#108060)
                                       Law Office of John F. Cullen, P.C.
                                       17 Accord Park Drive, Suite 103
                                       Norwell, MA 02061
                                       Tele: (781) 982-1141
                                       Fax: (781) 982-1143
                                       Email: jack@cullenbklaw.com

                              CERTIFICATE OF SERVICE

         I, John F. Cullen, hereby certify that on this the 17th day of August, 2007, have
 served the Debtor’s Motion to Extend Time to Respond and Oppose Creditor New
 York Bank’s Motion for Relief by causing a copy of the same to be delivered via
 electronically to all registered parties, and/or by First Class Mail to all non-registered
 parties, as follows:


                                  REGISTERED PARTIES

    Carolyn Bankowski
    Chapter 13 Trustee Boston
    P. O. Box 8250
    Boston, MA 02114
    617-723-1313
    13trustee@ch13boston.com
    Added: 02/07/2007
    (Trustee)
    New York Bank as Trustee                                    Rachel D. Costa
    Added: 05/17/2007                                           Ablitt & Charlton, P.C.
    (Creditor)                                   represented by 92 Montvale Avenue
                                                                Suite 2950
                                                                Stoneham, MA 02132
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    John Fitzgerald
    Office of the US Trustee
    10 Causeway Street
    Boston, MA 02222
    USTPRegion01.BO.ECF@USDOJ.GOV

                             NON-REGISTERED PARTIES
 Bay State Gas
 PO Box 830012
 Baltimore, MD 21283

 Countrywide Home Loans
 PO Box 660964
 Dallas, TX 75266-0694

 Deirde Cavanaugh, Esquire
 Ablitt & Charlton, P.C.
 92 Montvale , Suite 2950
 Stoneham, MA 02180

 Internal Revenue Service
 c/o Eugina Gomes, BK Specialist
 380 Westminster Mall
 Providence, RI 02903

 Internal Revenue Service
 1 Montvale Avenue
 Stoneham, MA 02180

 MDOR
 Department of Revenue
 BK Unit PO Box 9564
 Boston, MA 02114

 National grid
 Processing Center
 Woburn , MA 01807-0005

 Town of Stoughton Water Dept.
 10 Bearl Street
 Stoughton, MA 02072

 Dated 8/17/2007                          /s/ John F. Cullen_________
                                          John F. Cullen
